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                                                                                    FILED
                                                                        United States Court of Appeals
                        UNITED STATES COURT OF APPEALS                          Tenth Circuit

                               FOR THE TENTH CIRCUIT                         January 19, 2018
                           _________________________________
                                                                            Elisabeth A. Shumaker
                                                                                Clerk of Court
  DENNIS OBDUSKEY,

        Plaintiff - Appellant,

  v.                                                         No. 16-1330
                                                    (D.C. No. 1:15-CV-01734-RBJ)
  WELLS FARGO; WELLS FARGO                                    (D. Colo.)
  BANK; WELLS FARGO & CO; WELLS
  FARGO BANK NA; WELLS FARGO
  HOME MORTGAGE; MCCARTHY AND
  HOLTHUS LLP,

        Defendants - Appellees.
                        _________________________________

                                      JUDGMENT
                           _________________________________

  Before MORITZ, KELLY, and MURPHY, Circuit Judges.
                    _________________________________

        This case originated in the District of Colorado and was argued by counsel.

        The judgment of that court is affirmed.


                                              Entered for the Court



                                              ELISABETH A. SHUMAKER, Clerk
